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UNITED STATES D|STRICT COURT
MIDDLE DISTR|CT OF FLOR|DA
JACKSONV|LLE DIVIS|ON
TRAC| SCHN||DT,
P|aintiff,
v. Case No: 3:14-cv-268-J-39JRK
|NDYMAC |V|ORTGAGE SERVICES, a
division Of One West Bank Nationa|

Association,

Defendant.
t

ORDER OF DISMISSAL

This matter is before the Court on the Joint Stipu|ation of Vo|untary Dismissai (Doc.
17; Stipu|ation) filed on January 5, 2015. |n the Stipu|ation, the parties state that they

agree to the dismissal of this case With prejudice Y§ Stipulation at 1. According|y, it is

hereby
ORDERED:
1. This case is DISMESSED with prejudice.

2. The Clerk of the Court is directed to terminate all pending motions and close

the fi|e.

-h
DONE and ORDERED in Jacksonvi||e, Fiorida this §§ day of January, 2015.

Mr§w

BRiAN J. DA\/is if
United States District Judge

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Copies to:

Counsei of Recprd

